            Case: 21-3332   Document: 40           Filed: 06/28/2024     Pages: 1




                  United States Court of Appeals
                                 For the Seventh Circuit
                                 Chicago, Illinois 60604

                                       June 28, 2024



By the Court:

No. 21-3332

JOHN SABO,                                         Appeal from the United States District
     Plaintiff-Appellant,                          Court for the Eastern District of
                                                   Wisconsin.
       v.
                                                   No. 2:20-CV-00718-WED
MEGAN ERICKSON, et al.,
    Defendant-Appellant.                           William E. Duffin,
                                                   Magistrate Judge.

                                        ORDER


       A sua sponte request for rehearing en banc was made by an active member of the
court, and a majority of the court voted in favor of that request. Accordingly, the panel
opinion of April 30, 2024, is vacated, and the court will set an argument date by separate
order.
        The parties shall each file supplemental briefs of up to 7,000 words addressing the
following questions, in addition to any other points they wish to raise: (1) whether Sabo
has stated a claim against defendants Hicks and Haley for a violation of his Eighth
Amendment right against cruel and unusual punishment; and (2) accepting Sabo’s factual
allegations as true, whether it was clearly established under then-existing law that Hicks
and Haley had a constitutional duty to act to prevent a violation of his Eighth Amendment
right against cruel and unusual punishment.
        Thirty (30) copies of the supplemental briefs must be submitted to the Clerk’s Office
by July 26, 2024. Counsel must also re-submit to the Clerk’s Office thirty (30) copies of all
briefs, appendices, supplemental authority, and any other materials filed for the original
argument by that date.
